Case 2:19-cv-13442-VAR-EAS ECF No. 95, PageID.1488 Filed 05/07/21 Page 1 of 6




                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

                                           )
 PAULA BAILEY, KRYSTAL CLARK, )
 and HOPE ZENTZ, on behalf of )
 themselves and others similarly situated, )
                                           )
                     Plaintiffs,           )
        v.                                 )
                                           )
 HEIDI WASHINGTON, in her official ) and       Case No. 2:19-cv-13442 VAR-EAS
 individual capacity, JEREMY ) HOWARD,
 in his individual and official ) capacity,    District Judge Victoria A. Roberts
 SHAWN BREWER, in his ) official and           Mag. Judge Elizabeth A. Stafford
 individual capacity, ) KENNETH MCKEE,
 in his individual ) and official capacity,
 JEREMY BUSH, in ) his individual and
 official capacity, LIA ) GULICK, in her
 individual and official ) capacity, ED
 VALLAD, in his individual ) and official
 capacity, DAVID ) JOHNSON, in his
 individual and official ) capacity, KARRI
 OSTERHOUT, in her ) individual and
 official capacity, JOSEPH )TREPPA, in his
 official and individual ) capacity, DAN
 CARTER, in his official ) and individual
 capacity, RICHARD ) BULLARD, in his
 official and individual )capacity, and TONI
 MOORE, in her ) official and individual
 capacity,                                 )
                                           )
                     Defendants.           )

                                           )
Case 2:19-cv-13442-VAR-EAS ECF No. 95, PageID.1489 Filed 05/07/21 Page 2 of 6




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Case 2:19-cv-13442-VAR-EAS ECF No. 95, PageID.1490 Filed 05/07/21 Page 3 of 6




  akresch@excololaw.com

  Attorneys for Plaintiffs and the
  Putative Classes

                        SUBSTITUTION OF ATTORNEYS

TO: CLERK OF THE COURT

      PLEASE TAKE NOTICE that it is stipulated and agreed that ARI KRESCH of the

firm Excolo Law, PLLC, be substituted in the place of attorney Solomon M. Radner

formerly of the firm Excolo Law, PLLC, as co-counsel of record for all Plaintiffs and the

Putative Class, in the above-captioned matter. I also request a withdrawal of Solomon

M. Radner (P73653), from this case.

                                                   Respectfully submitted,
                                                   EXCOLO LAW PLLC
Dated: May 7, 2021

By: /s/ Solomon M. Radner (w/permission)           By: /s/ Ari Kresch
                                                   Ari Kresch (P29593)
                                                   Attorney for Plaintiff
                                                   26700 Lahser Rd., Suite 301
                                                   Southfield, MI 48033
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                           CERTIFICATE OF SERVICE

      Undersigned hereby states that on May 7, 2021, he caused the foregoing
      document to be filed electronically with the United States District Court and
      that a copy of said document was sent to all counsel of record through the
      Court’s CM/ECF electronic filing system.

                                               /s/ Ari Kresch

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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

                                           )
 PAULA BAILEY, KRYSTAL CLARK, )
 and HOPE ZENTZ, on behalf of )
 themselves and others similarly situated, )
                                           )
                     Plaintiffs,           )
        v.                                 )
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 CARTER, in his official ) and individual
 capacity, RICHARD ) BULLARD, in his
 official and individual )capacity, and TONI
 MOORE, in her ) official and individual
 capacity,                                 )
                                           )
                     Defendants.           )

                                           )




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Case 2:19-cv-13442-VAR-EAS ECF No. 95, PageID.1492 Filed 05/07/21 Page 5 of 6




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 Case 2:19-cv-13442-VAR-EAS ECF No. 95, PageID.1493 Filed 05/07/21 Page 6 of 6




  akresch@excololaw.com

  Attorneys for Plaintiffs and the
  Putative Classes
___________________________________________________________________

                  ORDER FOR SUBSTITUTION OF ATTORNEYS

                  At a session of Court, held in the City of Detroit,
                        County of Wayne, State of Michigan,
                          on ________________________.

                  PRESENT: HON. ________________________


      Upon reading and filing of the Stipulation between the parties to the above-

entitled cause;

      IT IS ORDERED that Ari Kresch, of the law firm of Excolo Law, PLCL, be

substituted in the place and stead of Solomon M. Radner, formerly of the law firm

of Excolo Law, PLLC.


                                                ________________________
                                                DISTRICT COURT JUDGE




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